                  Case 20-10361-KBO              Doc 80      Filed 02/27/20        Page 1 of 2




                             UNITED STATES BANKRUPTCY COURT
                                MIDDLE DISTRICT OF FLORIDA
                                  JACKSONVILLE DIVISION
                                     www.flmb.uscourts.gov

In re:                                                                Chapter 11

HYGEA HOLDINGS CORP., et al.,                                         Case No. 20-10361 (KBO)

            Debtors.1                                                 Jointly Administered
_________________________________/

                          NOTICE OF APPEARANCE OF
                ROBERT DAVIS AND REQUEST FOR SERVICE OF PAPERS

         ROBERT DAVIS of the law firm of HOLLAND & KNIGHT LLP files this Notice of

Appearance and Request for Service of Papers as counsel on behalf of RREF III-P Doral

Office, LP, a creditor in the above-referenced case. Said person appears pursuant to 11 U.S.C.

§1109(b) and Federal Rule of Bankruptcy Procedure 9010(b), and requests, pursuant to, inter

alia, Federal Rules of Bankruptcy Procedure 2002 and 9007, that all notices given or required to

be served in this case be served upon the below-named attorney:

                                            Robert Davis, Esq.
                                         Holland & Knight LLP
                                    200 S. Orange Avenue, Suite 2600
                                         Orlando, Florida 32801
                                        Telephone: 407.425.8500

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  The Debtors and the last four digits of their respective taxpayer identification numbers are: All Care Management
Services, Inc. (6484); First Harbour Health Management, LLC (0941); First Harbour Medical Centers, LLC (3861);
Florida Group Healthcare LLC (7956); Gemini Healthcare Fund, LLC (4928); Hygea Acquisition Longwood, LLC
(1649); Hygea Acquisition Orlando, LLC (3507); Hygea Health Holdings, Inc. (8926); Hygea Holdings Corp.
(2605); Hygea IGP of Central Florida, Inc. (9453); Hygea IGP, LLC (7724); Hygea Medical Centers of Florida,
LLC (5301); Hygea Medical Partners, LLC (4486); Hygea of Delaware, LLC (4830); Hygea of Georgia, LLC
(5862); Hygea of Pembroke Pines, LLC (6666); Hygea Primum Acquisition, Inc. (8567); Medlife Activity Center,
LLC (2311); Mobile Clinic Services, LLC (9758); Palm A.C. MSO, LLC (2585); Palm Allcare Medicaid MSO, Inc.
(6956); Palm Allcare MSO, Inc. (0319); Palm Medical Group, Inc. (5028); Palm Medical MSO LLC (7738); Palm
Medical Network, LLC (9158); Palm MSO System, Inc. (2178); Palm PGA MSO, Inc. (8468); Physician
Management Associates East Coast, LLC (7319); Physician Management Associates SE, LLC (3883); Physicians
Group Alliance, LLC (7824); Primum Alternatives, Inc. (7441); Primum Healthcare, LLC (0157); and Professional
Health Choice, Inc. (6850). The address of the Debtors’ corporate headquarters is 8700 W Flagler Street, Suite 280,
Miami, FL 33174.




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                Case 20-10361-KBO        Doc 80     Filed 02/27/20     Page 2 of 2




                                   Facsimile: 407.244.5288
                                Email: robert.davis@hklaw.com

        The foregoing request includes not only the notices and papers referred to in the Federal

Rules of Bankruptcy Procedure specified above but also includes, without limitation, any notice,

application, complaint, demand, motion, pleading, request, whether formal or informal, and

financial reports, and whether transmitted or conveyed by mail, electronic mail, delivery,

telephone, telegraph, telex, facsimile, or otherwise filed or made in or with regard to the above-

referenced case.

        Dated: February 27, 2020             Respectfully submitted,

                                             HOLLAND & KNIGHT LLP
                                             Counsel for RREF III-P Doral Office, LP
                                             200 S. Orange Avenue, Suite 2600
                                             Orlando, Florida 32801
                                             Telephone: 407.425.8500
                                             Facsimile: 407.244.5288
                                             Email: robert.davis@hklaw.com

                                             By: /s/ Robert Davis
                                                    Robert W. Davis, Jr.
                                                    Florida Bar No. 84953

                                CERTIFICATE OF SERVICE

       I hereby certify that on February 27, 2020, a true and correct copy of the foregoing was
served via the Court's CM/ECF System to all parties requesting such notice.

                                                    /s/ Robert Davis
                                                    Robert W. Davis, Jr.




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